

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-67,097-01






EX PARTE RUBEN ERIC GONZALES, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 2001CR1346C- W1 IN THE 290th DISTRICT COURT


FROM BEXAR COUNTY






	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated
robbery and sentenced to fifteen years years' imprisonment.  Applicant's conviction was affirmed
on direct appeal.  Gonzales v. State, No. 04-02-00120-CR (Tex. App.-San Antonio, delivered July
23, 2003, pet. ref'd).

	Applicant contends, inter alia,  that his trial counsel rendered ineffective assistance because
he opened the door, during the guilt-innocence phase of the trial, to the admission of extraneous
offenses, he failed to object to the admission into evidence of robberies which had no connection to
the Applicant, and he failed to object to the State's inquiring into his juvenile record.  

	The trial court has entered findings of fact and conclusions of law recommending that relief
be denied because the issue of ineffective assistance of counsel was raised and rejected on direct
appeal.  However, the trial court's findings are insufficient to resolve the issue raised.  See Ex parte
Torres, 943 S.W.2d 469 (Tex. Crim. App. 1997).  Applicant has alleged facts that, if true, might
entitle him to relief.  Strickland v. Washington, 466 U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d
791,795-96 (Tex. Crim. App. 2000).  In these circumstances, additional facts are needed.  As we held
in Ex parte Rodriguez, 334 S.W.2d 294, 294 (Tex. Crim. App. 1997), the trial court is the
appropriate forum for findings of fact.  The trial court shall provide Applicant's trial counsel with
the opportunity to respond to Applicant's claim of ineffective assistance of counsel.  The trial court
may use any means set out in Tex. Code Crim. Proc. art. 11.07, § 3(d).  In the appropriate case, the
trial court may rely on its personal recollection.  Id.

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact as to whether the performance of Applicant's trial
attorney was deficient and, if so, whether counsel's deficient performance prejudiced Applicant.  The
trial court shall also make any other findings of fact and conclusions of law that it deems relevant
and appropriate to the disposition of Applicant's claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court. 



Filed: April 18, 2007

Do not publish


